

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-80,058-01






EX PARTE WILLIAM PENDERGRASS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 241-0571-11-A IN THE 241ST DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of prohibited
substance in a correctional facility and sentenced to ten years' imprisonment. 

	Applicant contends that he was denied his right to appeal because the trial court's
certification of right to appeal was not timely completed. 

	The trial court has determined that the certificate of right to appeal was not timely completed. 
We find that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment
of conviction in Cause No. 241-0571-11 from the Twelfth District Court of Smith County. 
Applicant is ordered returned to that time at which he may give a written notice of appeal so that he
may then, with the aid of counsel, obtain a meaningful appeal.  Within ten days of the issuance of
this opinion, the trial court shall determine whether Applicant is indigent.  If Applicant is indigent
and wishes to be represented by counsel, the trial court shall immediately appoint an attorney to
represent Applicant on direct appeal.  All time limits shall be calculated as if the sentence had been
imposed on the date on which the mandate of this Court issues.  We hold that, should Applicant
desire to prosecute an appeal, he must take affirmative steps to file a written notice of appeal in the
trial court within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: September 11, 2013

Do not publish


